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 October 15, 2015

 VIA FEDERAL EXPRESS AND EMAIL

 Adam A. Reeves, Esq.
 Robert S. Leach, Esq.
 Assistant U.S. Attorney
 United States Attorney's Office
 450 Golden Gate Avenue, 11 th Floor
 San Francisco, CA 94102

 Re:       Autonomy

 Dear Mr. Reeves and Mr. Leach:

 As you know, we represent Hewlett-Packard Company ("H-P" or the "Company") in the above-
 referenced matter. We write in response to the Department of Justice's ("DOJ") verbal request
 for information and documents pertaining to the compensation received by Michael Lynch
 ("Lynch"), Sushovan Hussain ("Hussain"), Stephen Chamberlain ("Chamberlain"), Peter Menell
 ("Menell"), and Andrew Kanter ("Kanter"), including salary, bonuses, commissions, and any
 compensation received as a result ofH-P's acquisition of Autonomy. 1 The time period originally
 referenced was 2009 through 2011.

 As an initial matter, we direct your attention to our February 11, 2015 submission to the
 Securities and Exchange Commission ("SEC"), in which we provided a chart and supporting
 documentation regarding the number of Autonomy stock shares held by Lynch, Hussain, Kanter,
 Chamberlain, Stouffer Egan ("Egan"), and Joel Scott ("Scott") on August 18, 2011 (the date H-
 P's planned acquisition of Autonomy was announced) and on October 3, 2011 (the date the
 acquisition closed). For your reference, we enclose that submission as Exhibit "A" to this letter.2




       We also have included 2012 compensation information for the referenced individuals, to the extent that any
       such compensation, including retention bonuses, performance bonuses, stock grants, and/or stock exercises,
       relates back to the 2009 through 2011 time frame.
       The attachments to that submission were formally produced on February 18, 2015 under the Bates Nos. HP-
       SEC-01548269- HP-SEC-01548280.


     Almaty Astana Beijing Boston Brussels Chicago Dallas Dubai Frankfurt Harrisburg Hartford Houston London Los Angeles Miami Moscow
      New York Orange County Paris Philadelphia Pittsburgh Princeton San Francisco Santa Monica Silicon Valley Tokyo Washington Wilmington
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 In addition to the materials produced in February, please find enclosed a CD containing
 additional responsive documents Bates Nos. HP-SEC-01641784 - HP-SEC-01643168 which are
 described in detail below.

 On September 23, 2015, DOJ expanded its original request to encompass all compensation and
 benefit information relating to Lynch, Hussain, Chamberlain, Kanter, Menell, Egan, and Scott
 for the period 1997 to the present. As you will recall, in our follow-up conversation in London
 on September 25, 2015, we agreed that H-P would first produce information and documentation
 for the 2009 through 2011 time frame, as well as responsive information for 2008. Once DOJ
 has the opportunity to review these materials, we will revisit your request for documentation
 relating to the expanded time frame.

 On September 23, 2015, DOJ also requested personnel files for Lynch, Hussain, Chamberlain,
 Kanter, Menell, Egan and Scott. In response, please find enclosed responsive documents Bates
 Nos. HP-SEC-01642072- HP-SEC-01643081.

 I. Information Relating to Michael Lynch's Compensation

 [Bates Nos. HP-SEC-01641842 -HP-SEC-01641902; HP-SEC-01642591 -HP-SEC-01642702;
 HP-SEC-01643150 - HP-SEC-01643154; HP-SEC-01643082 -HP-SEC-01643094]

 A.        2008 Compensation

 Annual Salary: £300,000, effective mid-March 2008, paid monthly at £25,000

 Lynch was paid £20,833.33 in January and February 2008, prior to the salary increase, and
 £24,206.35 in March 2008, representing a pro-rated amount of the salary increase. Thereafter,
 he was paid a monthly rate of £25,000.

 Total salary compensation in 2008: £290,873.01.

 Bonus: £125,000 (based on 2007 performance and paid on February 29, 2008)

 B.        2009 Compensation

 Annual Salary: £315,000, effective February 2009, paid monthly at £26,250

 Lynch was paid £25,000 in January 2009, prior to the salary increase, and £26,125 in March
 2009, representing a pro-rated amount of the salary increase. Thereafter, he was paid a monthly
 rate of £26,250.

 Total salary compensation in CY 2009: £313,625

 Bonus: £300,000 (based on 2008 performance and paid on February 28, 2009)



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 Share Options Granted: 30,000 shares, plus an additional 5,000 shares in connection with the
 Interwoven acquisition, granted on February 26, 2009

 P60 End of Year Certificate, Tax Year to April 5, 2009: 3 £598,446.40

 C.       2010 Compensation

 Annual Salary: £343,350, effective February 2010, paid monthly at £28,612.50

 Lynch was paid £26,250.00 in January 2010, prior to the salary increase.

 Total salary compensation in CY 2010: £340,987.50

 Bonus: Lynch was entitled to a bonus for his 2009 performance but waived receipt of the award.
 (Tab 50, HP-SEC-01370698)

 P60 End of Year Certificate, Tax Year to April 5, 2010: £314,724.96

 D.       CY 2011 Compensation

 Annual Salary: £377,685, effective February 2011, paid monthly at £31,473.75

 Lynch was paid £28,612.50 in January 2011, prior to the salary increase, and £30,329.25 in
 February, representing a pro-rated amount of the salary increase.

 Total salary compensation in CY 2011: £373,679.25

 Bonuses: Total of £352,964, as follows:
    • £171,675 (based on 2010 performance, paid in February 2011)
    • £181,289 (based on 2011 performance, representing a prorated 2011 bonus for 10
       months, paid in October 2011)

 Share Options: In February 2011, Lynch was granted 75,000 share options at an exercise price of
 1600p per share, vesting on a three-year/quarterly schedule.

 Share Options Exercised: Lynch earned £7,126,887.56 (£8,267,851.00, less £1,140,963.44
 adjustment for national insurance) on exercise of share options, which was paid on October 31,
 2011.

       The P60 End of Year Certificate is a statement issued to taxpayers in the U .K. at the end of a tax year and
       forms a vital part of the proof that taxes have been paid. The U.K. tax year begins each year on April 6.
       Accordingly, the annual salary earned by an employee as reflected in the P60 End of Year Certificate reflects
       earnings for the tax year April through March, while the compensation as discussed herein reflects earnings for
       the calendar year January through December.


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 P60 End of Year Certificate, Tax Year to April 5, 2011: £514,582.13

 E.        2012 Compensation

 Annual Salary: £377,685, paid monthly at £31,473.75

 Lynch received a salary only through mid-August 2012.

 Total salary compensation in CY 2012: £244,636.87.

 P60 End of Year Certificate, Tax Year to April 5, 2012: £7,680,611.56

 II. Information Relating to Sushovan Hussain's Compensation

 [Bates Nos. HP-SEC-01642015 -HP-SEC-01642071; HP-SEC-01642154- HP-SEC-01642343;
 HP-SEC-01643164 - HP-SEC-01643168; HP-SEC-01643082 - HP-SEC-01643102]

 A.        2008 Compensation

 Annual Salary: £270,000, effective mid-March 2008, paid monthly at £22,500

 Hussain was paid £18,750 in January and February 2008, prior to the salary increase, and
 £21,785.71 in March, representing a pro-rated amount of the salary increase. Thereafter, he was
 paid the monthly rate of £22,500.

 Total salary compensation in CY 2008: £261,785.71

 Bonus: £112,500 (based on 2007 performance, paid on February 29, 2008)

 Share Options Exercised in 2008: Hussain earned £1,580,017.89 (£1,811,947.12, with a
 £231,929.23 adjustment for national insurance) on exercise of share options, which was paid on
 July 31, 2008.

 B.        2009 Compensation

 Annual Salary: £283,500, effective February 2009, paid monthly at £23,625.00

 Hussain was paid £22,500 in January 2009, prior to the salary increase, and £23,512.50 in
 February, representing a pro-rated amount of the salary increase. Thereafter, he was paid the
 monthly rate of £23,625.00.

 Total salary compensation in CY 2009: £282,262.50


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 Bonus: £270,000 (based on 2008 perfonnance, paid in February 2009)

 Car Allowance: £5,428.57

 Share Options Granted: 30,000 shares, plus an additional 5,000 shares in connection with the
 Interwoven acquisition, granted on February 26, 2009.

 Share Options Exercised in 2009: Hussain earned a total of £1,050,544.86 (after adjustments) on
 exercise of share options, broken down as follows:
     • £808,784.81, with a £103,524.46 adjustment for national insurance, paid on February 28,
        2009
     • £258,465.94, with a £33,083.64 adjustment for national insurance, paid on April 30, 2009
    • £137,502.54, with a £17,600.33 adjustment for national insurance, paid on June 30, 2009

 P60 End of Year Certificate, Tax Year to April 5, 2009: £2,827,415.74

 C.        2010 Compensation

 Annual Salary: £309,015, effective February 2010, paid monthly at £25,751.25

 Hussain was paid £23,625.00 in January 2010, prior to the salary increase.

 Total salary compensation in CY 2010: £306,888.75

 Bonus: £212,625 (based on 2009 performance, paid in February 2010)

 Car Allowance: £9,000

 Share Options Granted: 50,000 shares (based on 2009 performance, granted February 1, 2010)
 Autonomy Share Options Exercised: Hussain earned £1,132,192.53 (£1,298,385.92, with a
 £166,193.39 adjustment for national insurance) on exercise of share options, which was paid on
 April 30, 2010.

 Blinkx Share Options Exercised: Hussain earned £148,385.74 (£170,167.13, with a £21,781.39
 adjustment for national insurance) on exercise of Blinkx share options, which was paid on
 November 30, 2010.

 P60 End of Year Certificate, Tax Year to April 5, 2010: £853,340.58

 D.        2011 Compensation

 Annual Salary: £339,916, effective February 2011, paid monthly at £28,326.33



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 Hussain was paid £25,751.25 in January 2011, prior to the salary increase, and £27,296.30 in
 February 2011 (accounting for salary arrears). Thereafter, he was paid the monthly rate of
 £28,326.33.

 Total salary compensation in CY 2011: £336,310.85

 Bonus: Total of £393,347, as follows:
    • £154,507 (based on 2010 performance, paid in February 2011)
    • Extra performance bonus of £80,000, paid on September 30, 2011. The bonus was
        granted to the core team responsible for the HP transaction.
    • £158,840, paid on November 30, 2011, representing a prorated bonus for 10 months'
        work in 2011.

 Car Allowance: £9,000

 Holiday Pay: £38,070.59, paid on October 31, 2011

 Share Options Granted: 75,000 share options at an exercise price of 1600p per share, vesting on
 a three-year/quarterly schedule (based on 2010 performance, granted in February 2011).

 Autonomy Share Options Exercised: £4,947,598.37 (£5,739,673.28, with a £792,074.91
 adjustment for national insurance) on exercise of the share options, paid on October 31, 2011

 P60 End of Year Certificate, Tax Year to April 5, 2011: £1,757,220.40

 E.        2012 Compensation

 Annual Salary: £339,916, paid monthly at £28,326.33

 Hussain received a salary only through May 2012.

 Total salary compensation in CY 2012: £141,631.65

 Car Allowance: £6,750

 Holiday Pay: £95,437.95, paid on June 29, 2012
 Severance Payment: £116,305, paid on June 29, 2012

 Restricted Share Units Exercised: £188,865.68, paid on November 30, 2012

 P60 End of Year Certificate, Tax Year to April 5, 2012: £5,573,424.92




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 III. Information Relating to Andrew Kanter's Compensation

 [Bates Nos. HP-SEC-01641784-HP-SEC-01641841; HP-SEC-01642359-HP-SEC-01642590;
 HP-SEC-01643145 - HP-SEC-01643149; HP-SEC-01642522 - HP-SEC-01642522; HP-SEC-
 l 0642542 - HP-SEC-01642542; HP-SEC-01643086-HP-SEC-01643087; HP-SEC-01643093 -
 HP-SEC-01643095; HP-SEC-01643103 -HP-SEC-01643107; HP-SEC-01643109 -HP-SEC-
 01643131]

 A.        2008 Compensation

 Annual Salary: £210,000, effective mid-March 2008, paid monthly at £17,500

 Kanter was paid £14,583.33 in January and February 2008, prior to the salary increase, and
 £16,944.44 in March, representing a pro-rated amount of the salary increase. Thereafter, he was
 paid the monthly rate of £17,500.

 Total salary compensation in CY 2008: £203,611.10

 Bonus: £87,500 (based on 2007 performance, paid on February 29, 2008)

 Car Allowance: £5,400

 Autonomy Share Options Exercised: Kanter earned a total of £188,172.58 (after adjustments), on
 exercise of share options, broken down as follows:
    • £126,657.37, with a £16,212.15 adjustment for national insurance, paid on February 29,
        2008
    • £89,136.88, with a £11,409.52 adjustment for national insurance, paid on July 31, 2008

 B.        2009 Compensation

 Annual Salary: £220,500, effective February 2009, paid monthly at £18,375.00

 Kanter was paid £17,500.00 in January 2009, prior to the salary increase, and £18,287.50 in
 February, representing a pro-rated amount of the salary increase. Thereafter, he was paid the
 monthly rate of £18,375.00.

 Total salary compensation in CY 2009: £219,537.50

 Bonus: £210,000 (based on 2008 performance, paid on February 28, 2009)

 Car Allowance: £5,400

 Share Options Granted: 30,000 shares, plus an additional 5,000 shares in connection with
 Interwoven acquisition, granted on February 26, 2009

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 Share Options Exercised in 2009: Kanter earned a total of £1,374,682.00 (after adjustments), on
 exercise of share options, as follows:
    • £228,316.79, with a £29,224.55 adjustment for national insurance, paid on February 28,
        2009
    • £363,890.40, with a £46,577.97 adjustment for national insurance, paid on April 30, 2009
    • £191,881.65, with a £24,560.85 adjustment for national insurance, paid on May 31, 2009
    • £194,845.53, with a £24,940.23 adjustment for national insurance, paid on June 30, 2009
    • £278,386.22, with a £35,633.44 adjustment for national insurance, paid on November 30,
        2009. As reflected in HP-SEC-01642434, this exercise included 96,450 previously held
        AU stock options granted as follows:
            o 21,450 shares granted on December 17, 2004 at 149p exercise price;
            o 50,000 shares granted on August 1, 2005 at a 229p exercise price;
            o 25,000 shares granted on September 12, 2006 at a 384p exercise price.
    • £319,149.60, with a £40,851.15 adjustment for national insurance, paid on December 31,
        2009

 P60 End of Year Certificate, Tax Year to April 5, 2009: £703,882.10

 C.        2010 Compensation

 Annual Salary: £240,345, effective mid-March 2009, paid monthly at £20,028.75

 Kanter was paid £18,375 in January and February 2010, prior to the salary increase, and
 £20,028.75 in March, representing a pro-rated amount of the salary increase. For July 2010,
 Kanter received a monthly salary of £15,476.76, and for August 2010, Kanter received a monthly
 salary of £15,053.66. For all other months, he was paid the monthly rate of £20,028.75.

 Total salary compensation in CY 2010: £227,294.71

 Cash Bonus: £90,000 (based on 2009 performance, paid in March 2010)

 Car Allowance: £5,297.73

 Share Options Granted: 75,000 shares, granted in October 2010

 Share Options Exercised in 2010: Kanter earned a total of £1,430,292.83 (after adjustments) on
 exercise of share options, as follows:
    • £609,933.35, with a £78,071.47 adjustment for national insurance, paid on January 31,
        2010
    • £1,030,310.72, with a £131,879.77 adjustment for national insurance, paid on March 31,
        2010

 P60 End of Year Certificate, Tax Year to April 5, 2010: £2,923,220.63


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 D.       2011 Compensation

 Annual Salary: £264,380, effective March 7, 2011, paid monthly at £22,031.67

 Kanter was paid £20,028.75 in January and February 2011, prior to the salary increase, and
 £21,683.34 in March, representing a pro-rated amount of the salary increase. Thereafter, he was
 paid the monthly rate of £20,028.75.

 Total salary compensation in CY 2010: £260,025.87

 Bonus: Total of £303,040, as follows:
    • £96,138 (based on 2010 performance, paid on March 31, 2010)
    • Extra performance bonus of £80,000, paid on September 30, 2011. The bonus was
        granted to the core team responsible for the HP transaction.
    • £126,902, paid on November 30, 2011, representing a prorated bonus for 10 months'
        work in 2011

 Car Allowance: £3,702.27

 Share Options Granted: 60,000, granted June 2011

 Blinkx Share Options Exercised: Kanter earned a total of £4,554,792.53 (after adjustments) on
 exercise of Blinkx share options, as follows:
     • £96,260.50, with a £13,283.95 adjustment for national insurance, paid on April 28, 2011
     • £81,000, with a £11,178 adjustment for national insurance, paid on May 27, 2011
     • £129,696.55, with a £17,898.12 adjustment for national insurance, paid on September 30,
        2011
     • £4,977,025, with a £686,829.45 adjustment for national insurance, paid on October 31,
        2011

 P60 End of Year Certificate, Tax Year to April 5, 2011: £333,908.24

 E.       2012 Compensation

 Annual Salary: £264,380, paid monthly at £22,031.67

 Kanter received a salary only through mid-June 2012.

 Total salary compensation in CY 2012: £121,698.75

 Holiday Pay: £27,454.85, paid on June 29, 2012


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 Severance Payment: £66,095, paid on June 29, 2012, plus an additional £2,501, paid on July 31,
 2012

 Blinkx Share Options Exercised: Kanter earned £6,178.78 (£7,754.88, with a £1,576.10
 adjustment for national insurance) on exercise of Blinkx share options, paid on October 31,
 2012.

 Restricted Share Units: Kanter earned £166,301.83 (£95,769.67, with a £70,532.16 adjustment
 for national insurance) on exercise ofrestricted share options, paid on November 30, 2012. 4

 P60 End of Year Certificate, Tax Year to April 5, 2012: £5,028,426.84.

 IV. Information Relating to Stephen Chamberlain's Compensation

 [Bates Nos. HP-SEC-01641963 - HP-SEC-01642014; HP-SEC-01642072-HP-SEC-01642153;
 HP-SEC-01643160 - HP-SEC-01643163; HP-SEC-01642127 - HP-SEC-01642127; HP-SEC-
 01643103 - HP-SEC-01643104; HP-SEC-01643132 -HP-SEC-01643143]

 A.       2008 Compensation

 Annual Salary: £115,000, effective early-August 2008, paid monthly at £9,583.33

 Chamberlain was paid £8,333.33 from January through July 2008, prior to the salary increase,
 and £9,345.23 in August, representing a pro-rated amount of the salary increase. Thereafter, he
 was paid the monthly rate of £9,583.33.

 Total salary compensation in CY 2009: £106,011.86

 Bonus: None

 Share Options Exercised: Chamberlain earned £67,866.56 (£77,828.62, with a £9,962.06
 adjustment for national insurance) on exercise of share options, paid on July 31, 2008

 B.       2009 Compensation

 Annual Salary: £125,000, effective mid-March 2009, paid monthly at £10,416.67

 Chamberlain was paid £9,583.33 in January and February 2009, prior to the salary increase, and
 £10,000 in March, representing a pro-rated amount of the salary increase. Thereafter, he was
 paid the monthly rate of £10,416.67


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       Upon information and belief, the RSU's were subsequently returned in December 2012.


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 Total salary compensation in CY 2009: £122,916.66

 Bonus: None

 Share Options Granted: 2,000 shares granted on May 5, 2009

 Share Options Exercised: Chamberlain earned a total of £259,170.32 (after adjustments) on
 exercise of share options, as follows:
    • £10,198.77, with a £1,305.44 adjustment for national insurance, paid on February 28,
        2009
    • £146,081.49, with a £18,698.43 adjustment for national insurance, paid on March 31,
        2009
    • £79,125.63, with a £10,128.08 adjustment for national insurance, paid on June 30, 2009
    • £42,106.95, with a £5,389.69 adjustment for national insurance, paid on September 30,
        2009
    • £19,700.83, with a £2,521.71 adjustment for national insurance, paid on December 31,
        2009

 P60 End of Year Certificate, Tax Year to April 5, 2009: £314,321.48

 C.        2010 Compensation

 Annual Salary: £140,000, effective May 1, 2010, paid monthly at £11,666.67

 Chamberlain was paid £ 10.416.67 from January through April, prior to the salary increase.
 Starting in May, he was paid the monthly rate of £11,666.67.

 Total salary compensation in CY 2010: £135,000.01

 Bonus: Total of £8,026.32, as follows:
    • £4,708.69 (based on 2009 performance, paid on February 28, 2010
    • £3,317.63 (paid on July 31, 2010)

 Share Options Issued: 10,000 shares, issued on May 6, 2010

 Share Options Exercised: Chamberlain earned a total of £89,463.15 (after adjustments) on
 exercise of share options, as follows:
    • £11,205.32, with a £1,434.28 adjustment for national insurance, paid on February 28,
        2010
    • £37,872.92, with a £4,847.73 adjustment for national insurance, paid on March 31, 2010
    • £53,517.11, with a £6,850.19 adjustment for national insurance, paid on June 30, 2010

 P60 End of Year Certificate, Tax Year to April 5, 2010: £295,398.89


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 D.       2011 Compensation

 Annual Salary: £140,000, paid monthly at £11,666.67

 Bonus: Total of £60,000
    • £10,000 (based on 2010 performance, paid out on April 28, 2011)
    • Extra performance bonus of £50,000, paid on September 30, 2011. The bonus was
        granted to the core team responsible for the HP transaction.

 Stock Options Granted: 7,500 stock options, based on 2010 performance

 Autonomy Share Options Exercised: Chamberlain earned £958,523.16 (£1,111,975.82, with a
 £153,452.66 adjustment for national insurance) on exercise of share options, paid on October 31,
 2011.

 Blinkx Share Options Exercised: Chamberlain earned £3,791.84 (£4,398.89, with a £607.05
 adjustment for national insurance) on exercise of share options, paid on June 30, 2011.

 Tax Refund on Share Option Gains: £9,196.50

 P60 End of Year Certificate, Tax Year to April 5, 2011: £188,734.59

 E.       2012 Compensation

 Annual Salary: £140,000, paid monthly at £11,666.67

 Chamberlain received a salary only through mid-March 2012.

 Total salary compensation in CY 2012: £31,287.89

 Holiday Pay: £3,500

 V. Information Relating to Peter Menell's Compensation

 [Bates Nos. HP-SEC-01641903 -HP-SEC-01641962; HP-SEC-01642703 -HP-SEC-01642891;
 HP-SEC-01643463 - HP-SEC-01643467; HP-SEC-01642766 - HP-SEC-01642766; HP-SEC-
 01642774 - HP-SEC-01642774; HP-SEC-01643086- HP-SEC-01643087; HP-SEC-01643093 -
 HP-SEC-01643094; HP-SEC-01643103 -HP-SEC-01643104; HP-SEC-01643109 -HP-SEC-
 01643131]

 A.       2008 Compensation

 Annual Salary: £210,000, effective mid-March 2008, paid monthly at £17,500



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 Merrell was paid £12,500 in January and February 2008, prior to the salary increase, £16,547.62
 in March, representing a pro-rated amount of the salary increase, and £22,514.29 in September.
 For all other months, he was paid the monthly rate of £17,500.

 Total salary compensation in CY 2008: £204,061.91

 Bonus: £75,000 (based on 2007 perfo1mance, paid on February 29, 2008)

 Share Options Exercised: Merrell earned £751,759.69 (£852,935.42, with a £107,175.73
 adjustment for national insurance) on exercise of share options, paid on July 31, 2008.

 B.         2009 Compensation

 Annual Salary: £220,500, effective early-February 2009, paid monthly at £18,375.00

 Merrell was paid £17,500 in January 2009, prior to the salary increase, and £18,287.50 in
 February, representing a pro-rated amount of the salary increase. Thereafter, he was paid the
 monthly rate of £18,375.00.

 Total salary compensation in CY 2009: £219,537.50

 Bonus: £210,000 (based on 2008 performance, paid on February 28, 2009)

 Share Options Granted: 30,000, granted February 26, 2009

 Share Options Exercised: Merrell earned a total of £918,708.72 (after adjustments) on exercise of
 share options, as follows:
     • £704,483.15, with a £90,173.84 adjustment for national insurance, paid on February 28,
        2009
     • £111,197.81, with a £14,233.32 adjustment for national insurance, paid on April 30, 2009
     • £237,884.08, with a £30,449.16 adjustment for national insurance, paid on December 31,
        2009

 P60 End of Year Certificate, Tax Year to April 5, 2009: £1,778,060.07

 C.         2010 Compensation

 Annual Salary: £240,345, effective early-March 2010, paid monthly at £20,028.75

 Merrell was paid £18,375 in January and February 2010, prior to the salary increase, and
 £19,813.04 in March, representing a pro-rated amount of the salary increase. Thereafter, he was
 paid the monthly rate of £20,028.75.



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 Total salary compensation in CY 2010: £236,821.79

 Bonus: £100,000

 Share Options Granted: 10,000 shares, granted in October 2010

 Autonomy Share Options Exercised: Menell earned a total of £640,608(a:fter adjustments) on
 exercise of share options, as follows:
    • £357,645.15, with a £45,778.58 adjustment for national insurance, paid on February 28,
        2010
    • £146,828.33, with a £18,794.02 adjustment for national insurance, paid on April 30, 2010
    • £230,168.71, with a £29,461.59 adjustment for national insurance, paid on September 30,
        2010

 Blinkx Share Options Exercised: Merrell earned a total of £165,833.88 (after adjustments) on
 exercise of Blinkx share options, as follows:
     • £73,819.50, with a £9,448.90 adjustment for national insurance, paid on July 31, 2010
     • £116,356.97, with a £14,893.69 adjustment for national insurance, paid on September 30,
        2010

 P60 End of Year Certificate, Tax Year to April 5, 2010: £938,204.02

 D.        2011 Compensation

 Annual Salary: £240,345, paid monthly at £20,028.75

 Bonus: Total of £155,365, as follows:

 Extra performance bonus of £40,000, paid on September 30, 2011. The bonus was granted to the
 core team responsible for the HP transaction.
 £115,365, paid on November 30, 2011, representing a prorated bonus for 10 months' work in
 2011

 Share Options Granted: 50,000, granted in June 2011

 Share Options Exercised: Merrell earned £1,706,564 (£1,979,772.62, with a £273,208.62
 adjustment for national insurance) on exercise of share options, paid on October 31, 2011

 Repayment of a Cash Advance: £43,376.63, debited on December 16, 2011

 P60 End of Year Certificate, Tax Year to April 5, 2011: £831,058.31




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 E.       2012 Compensation

 Annual Salary: £240,345, paid monthly at £20,028.75

 Menell received his monthly salary in January, February, March, May, and June 2012. He
 received a partial salary payment in April 2012 for £15,406.73, in August 2012 for £8,011.50,
 and in September 2012 for £4,005.75.

 Total salary compensation in CY 2012: £147,596.48

 Severance Pay: £60,088.00, plus an additional £100, paid on June 29, 2012

 Restricted Share Units: £157,380.03, paid on November 30, 2012

 P60 End o.fYear Cert(ficate, Tax Year to April 5, 2012: £2,102,274.00

                                           ********

 The materials and the information contained herein (HP-SEC-01641784 - HP-SEC-01643168)
 represent information that is confidential within the contemplation of the applicable provisions of
 the Freedom of Information Act ("FOIA") and the rules of the Commission which implement
 that Act, 17 C.F.R. § 200.83, ("Rule 83") and is furnished solely for the use of the Commission
 and DOJ. Accordingly, we request the documents, and the information contained therein, be
 afforded confidential treatment pursuant to FOIA and the rules of the Commission implementing
 the Act. Pursuant to Rule 83, a request for confidential treatment has also been delivered to the
 Commission's FOIA Office. In accordance with Rule 83, please notify the undersigned of any
 request for disclosure of the materials made pursuant to the FOIA. After completion of the
 investigation concerning the above referenced matter, we ask that all confidential materials be
 returned to us.

 The requests set forth in the preceding paragraphs also apply to any memoranda, notes,
 transcripts or other writings of any sort whatsoever that are made by, or at the request of, any
 employee of the SEC or DOJ and which (1) incorporate, include or relate to any of this letter and
 its enclosures; or (2) refer to any conference, meeting, or telephone conversation relating to this
 letter and its enclosures between H-P, its current or former employees, representatives, agents,
 auditors or counsel on the one hand and employees of the SEC or DOJ on the other.

 This letter is not intended to and does not waive any applicable privilege or other legal basis
 under which information may be protected from disclosure. If it is concluded that any of the
 enclosed materials disclose privileged matter, such disclosure is inadvertent. By the production
 of this letter and its enclosures, H-P does not intend to and has not waived the attorney-client
 privilege or any other protections.




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 To further promote confidentiality, the enclosed CD is being produced with password protection.
 The password will be sent separately via email.

 Finally, we note that H-P is making every effort to produce documents as quickly and as
 efficiently as possible. However, the inadvertent disclosure of material protected by the
 attorney-client, work product or any other applicable privilege may occur during the course of
 these productions. We respectfully request that the Commission and DOJ allow for the
 "clawback" of any such privileged materials upon prompt notification by H-P.

 Please feel free to contact me should you have any questions.




 Enclosure

 cc:      ENF-CPU
          U.S. Securities and Exchange Commission
          100 F St., N.E. Mailstop 5973
          Washington, D.C. 20549-5973

          Jason Habermeyer, Esq. (without enclosures)
          Attorney, Division of Enforcement
          U.S. Securities and Exchange Commission
          San Francisco Regional Office
          44 Montgomery Street, Suite 2800
          San Francisco, CA 94104

          Freedom oflnformation Officer (without enclosures)
          Office of Freedom oflnformation and Privacy Act Operations
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          100 F Street NE
          Mail Stop 5100
          Washington, D.C. 20549




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                        Exhibit "A"




                                                             USAO-EMAIL 008357
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From:                              Stolley, Martha B.
Sent:                              Wednesday, February 11, 2015 7:05 PM
To:                                'Habermeyer, Jason M.'; 'Foley, Michael'
Cc:                                Resley, Susan D.
Subject:                           Follow-Up to Call re: AU Shares Held
Attachments:                       HP-SEC-01548269.xlsx; HP-SEC-0154270-79.msg; HP-SEC-01548280.xls


Hi Jason and Mike -
As follow-up to our call last Tuesday afternoon, we are providing the chart below, which lays out what we discussed and
identifies the supporting documents we referenced during our discussion. Additionally, we are providing either copies
of those documents that have not yet been produced but will be produced in the next day or two (upcoming bates
numbers are highlighted) or bates ranges for those documents previously produced.

Individual           Time Period    Number of            Supporting Documents             Bates Number{s)
                                    Shares (includes
                                    options)
Mike Lynch           8/18/11         20,288,320          Offer Letter                     HP-SEC-01376316-403
                                                                                          (specifically 01376381)
                     8/18/11         20,288,320          Undertaking                      HP-SEC-00001321-1330
                     10/3/11         Assume              Minutes of 9/26/11 AU Board      HP-SEC-0035767 4-676
                                     20,288,320 be       of Directors Meeting
                                     vesting of all
                                     shares upon         Minutes of 9/23/11               HP-SEC-00356822-823
                                     change of control   Remuneration Committee
                                     and no dealing of   Meeting
                                     shares per Offer
                                     Letter/
                                     Undertaking

Sushovan Hussain     8/18/11         399,274             Offer Letter                     HP-SEC-01376316-403
                                                                                          (specifically 01376381)
                     8/18/11         399,274             Undertaking                      HP-SEC-00001341-1351
                     8/18/11         399,274             Emails between Hussain and       HP-SEC-01429626-629
                                                         Slaughter & May re: Shares for
                                                         the Announcement
                     10/3/11         Assume 399,274      Minutes of 9/26/11 AU Board      HP-SEC-00357674-676
                                     be vesting of all   of Directors Meeting
                                     shares upon
                                     change of control   Minutes of 9/23/11               HP-SEC-00356822-823
                                     and no dealing of   Remuneration Committee
                                     shares per Offer    Meeting
                                     Letter/
                                     Undertaking
                                     Assume 399,274
                                     be vesting of all
                                     shares upon
                                     change of control

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                                and no dealing of
                                shares clause of
                                Offer Letter/
                                Undertaking

Andy Kanter          8/12/11    360,000             8/12/11 Spreadsheet               HP-SEC-00331195
                     9/16/11    360,000             9/16/11 Spreadsheet               HP-SEC-O1548269
                     10/3/11    360,000             Email from Harris to Carreon      1-1p:.s1:c:.oisiis210-19
                                                    of 10/5/11 with attached          HP-SEC-01548280
                                                    10/3/11 spreadsheet
                     10/3/11    360,000             Capita Registrar Chart of         HP-SEC-01544920
                                (accelerated in     Acceptances
                                connection with
                                the UK Plan)        Offer Letter to Option Holders    HP-SEC-00662185
                                                    of the "UK Plan"

                                                    Election Form for Option          HP-SEC-01371429
                                                    Holders of the "UK Plan"



Steve Chamberlain    8/12/11    98,656              8/12/11 Spreadsheet               HP-SEC-00331195
                     9/16/11    98,656              9/16/11 Spreadsheet               HPsSEC-01548269
                     10/3/11    98,656              Email from Harris to Carreon      HP-SEC-01548270~ 79
                                                    of 10/5/11 with attached          HP-SEC-01548280
                                                    10/3/11 spreadsheet
                     10/3/11    98,656 + 381 =      Capita Registrar Chart of Offer   HP-SEC-01544920
                                99,037              Acceptances
                                (accelerated in
                                connection with     Offer Letter to Option Holders    HP-SEC-00662185
                                the UK Plan)        of the "UK Plan"

                                                    Election Form for Option          HP-SEC-01371429
                                                    Holders of the "UK Plan"



Stouffer Egan        8/12/11    370,000             8/12/11 Spreadsheet               HP-SEC-00331195

                     9/16/11    370,000             9/16/11 Spreadsheet               HP-SEC-01548269

                     10/3/11    370,000 (of         Email from Harris to Carreon      HP-SEC-01548270-79
                                which 247,083       of 10/5/11 with attached          HP-SEC-01548280
                                options were        10/3/11 spreadsheet
                                vested)

                     10/3/11    247,083 + 4,242     Capita Registrar Chart of Offer    HP-SEC-01544920
                                = 251,325           Acceptances
                                (assume 122,917
                                rolled over to HP   Offer Letter to Option Holders     HP-SEC-00662258
                                options per US      of the "UK Plan"
                                Plan)
                                                    Election Form for Option           HP-SEC-00245760

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                                                      Holders of the /{UK Plan"

Joel Scott          8/12/11        62,501             8/12/11 Spreadsheet               HP-SEC-00331195
                    9/16/11        62,501             9/16/11 Spreadsheet               HP-SEC-Of548269
                    10/3/11        62,501 (of which   Email from Harris to Carreon      Hp.:sE C-01548270~ 79
                                   13,959 options     of 10/5/11 with attached          HP~SEC-01548280
                                   were vested)       10/3/11 spreadsheet
                    10/3/11        13,959 (assume     Capita Registrar Chart of Offer   HP-SEC-01544920
                                   48,542 rolled      Acceptances
                                   over to HP
                                   options per US     Offer Letter to Option Holders    HP-SEC-00662258
                                   Plan)              of the "UK Plan"

                                                       Election Form for Option         HP-SEC-00245760
                                                       Holders of the "UK Plan"

NB: Other Options Plans have previously been produced as follows:
    • Offer to Option Holders under the Optimost LLC 2006 Equity Incentive Plan (the "Plan 11 ) - HP-SEC-00662191
    • Offer to Option Holders under The Cardiff Software Inc. 1997 Equity Incentive Plan and 2000 Stock Option Plan;
       Interwoven Inc. 1999 Equity Incentive Plan and 2000 Stock Option Plan; iManage 1997 Stock Option Plan and
       2000 Non-Officer Stock Option Plan; Interwoven 2003 Acquisition Plan and 2008 Equity Incentive Plan; Virage
       Inc. 1997 Stock Option Plan; Verity Inc. 1996 Non Statutory Stock Option Plan and Canada 1997 Non Statutory
       Stock Option Plan; and Zantaz Inc. 1998 Stock Plan (the "Plans11 ) - HP-SEC-01381386
    • Offer to Option Holders under the Discovery Mining Inc. 2003 Stock Incentive Plan (the "Plan") - HP-SEC-
       01387013
    •  Election Form for the "Plans" and the Discovery Mining Inc. "Plan" - HP-SEC-00245756
    •  Election Form for the Optimost LLC "Plan" - HP-SEC-00245760

Let me know if you have any questions or comments.

Thanks-
Martha


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